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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      CASE NO. 21-cr-46 (RDM)
              v.                             :
                                             :
PATRICK MONTGOMERY and                       :
BRADY KNOWLTON,                              :
                                             :
                      Defendants.            :


                                     NOTICE OF FILING
       The government files this notice in response to the Court’s inquiry concerning what other
Capitol cases a motion to dismiss an obstruction charge, in violation of 18 U.S.C. § 1512(c)(2),
has been filed and fully briefed. Below is a list of cases the undersigned has compiled in
response to the Court’s question.
   •   U.S. v. Caldwell, et. al., 21-CR-028 (APM). On July 1, 2021, defendant Caldwell filed a
       motion to dismiss multiple counts for multiple reasons including dismissal of the
       obstruction charge. The government’s response was filed on July 29, 2021, and a hearing
       is set before Judge Mehta on September 8, 2021.

   •   U.S. v. Chansley, 21-CR-003 (RCL). On June 29, 2021, defendant filed a motion to dismiss
       the obstruction charge. The government filed a memorandum in opposition on July 13,
       2021. No further action has been taken by Judge Lamberth and no hearings are presently
       scheduled.

   •   U.S. v. Grider, 21-CR-022 (CKK). On March 22, 2021, defendant filed a motion to dismiss
       the obstruction charge. The government opposed the motion on April 5, 2021. A motions
       hearing was set for May 13, 2021, but defendant asked the Court to hold the motion in
       abeyance, which was granted. The case is now before Judge Colleen Kollar-Kotelly and
       remains abated.

   •   U.S. v. Miller, 21-CR-119 (CJN). On June 28, 2021, defendant filed a motion to dismiss
       the obstruction charge. The government responded on July 9, 2021, and defendant filed a
       reply on July 16, 2021. No hearing has been set.

   •   U.S. v. Nordean, 21-CR-175 (TJK). On June 3, 2021, defendant Nordean filed a motion
       to dismiss multiple counts for multiple reasons including the obstruction charge. Co-
       defendant Biggs subsequently joined in the motion. On July 15, 2021, Judge Kelly entered
       a minute order granting the United States’ Motion for Leave to File Sur-Reply and Set
       Further Briefing Schedule and ordered the United States to file any sur-reply to defendant’s
       motion to dismiss by July 29, 2021, and granting defendant until August 5, 2021 to file any
       response to the sur-reply.
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•   U.S. v. Pezzola, et. al., 21-CR-052 (TJK). On May 11, 2021, defendant William Pepe
    filed a motion to dismiss the obstruction charge. On May 25, 2021, the government filed
    a memorandum in opposition. The defense responded on June 1, 2021. A status hearing
    is scheduled on August 2, 2021, in which argument may be heard by Judge Kelly.

•   U.S. v. Pruitt, 21-CR-23 (TJK). On May 26, 2021, defendant filed a motion to dismiss
    the obstruction charge. The government opposed the motion on June 8, 2021. A status
    hearing is scheduled on August 4, 2021.



                                               Respectfully submitted,


                                               CHANNING D. PHILLIPS
                                               Acting United States Attorney
                                               D.C. Bar No. 415793


                                        By:    ____________________________
                                               Elizabeth C. Kelley
                                               Assistant United States Attorney
                                               D.C. Bar No. 1005031
                                               United States Attorney’s Office
                                               555 4th Street, N.W.
                                               Washington, DC 20530
                                               Elizabeth.Kelley@usdoj.gov
